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17                        UNITED STATES DISTRICT COURT FOR THE
18
                               CENTRAL DISTRICT OF CALIFORNIA
19
      DOMINIC ARCHIBALD, AN                                   Case No. 5:16-cv-01128 –AB-SPx
20
      INDIVIDUAL AND AS SUCESSOR IN                           [Hon. Andre Birotte, Jr.]
21    INTEREST TO NATHANAEL
      PICKETT II, DECEASED.                                   FIRST AMENDED COMPLAINT
22                                                            FOR DAMAGES
                       PLAINTIFF,
23                                                               1. Fourth Amendment—Detention
      vs.                                                           and Arrest (42 U.S.C. § 1983)
24    COUNTY OF SAN BERNARDINO,                                  2. Fourth Amendment—Excessive
                                                                    Force (42 U.S.C. § 1983)
      KYLE WOODS, WILLIAM KELSEY                                 3. Municipal Liability—
25    and DOES 2-10, INCLUSIVE.                                     Unconstitutional Custom,
                         Defendants.                                Practice, or Policy (42 U.S.C. §
26
                                                                    1983)
                                                                 4. Municipal Liability—Ratification
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 1                                                                   (42 U.S.C. § 1983)
                                                                 5. Municipal Liability—Failure to
 2                                                                   Train (42 U.S.C. § 1983)
                                                                 6. Fourth Amendment—Denial of
 3                                                                   Medical Care (42 U.S.C. § 1983)
                                                                 7. Substantive Due Process (42
 4                                                                   U.S.C. § 1983)
                                                                 8. Americans with Disabilities Act
 5                                                               9. Negligence (Wrongful
                                                                     Death/Survival)
 6                                                               10. Assault and Battery (Wrongful
                                                                     Death/Survival)
 7                                                               11. Violation of Cal. Civil Code §
                                                                     52.1
 8                                                               12. Violation of Cal. Civil Code §
                                                                     51.7
 9                                                               13. False Arrest/False Imprisonment
10
                                                              DEMAND FOR JURY TRIAL
11

12

13                                     JURISDICTION AND VENUE
14           1.      This Court has original jurisdiction over this action for damages under the
15    laws under 42 U.S.C. § 1983, the United States Constitution and common law
16    principles, to redress a deprivation under color of state law of rights, privileges, and
17    immunities secured to PLAINTIFF and her decedent, by said status, and by the First,
18    Fourth, and Fourteenth Amendments of the United States Constitution.
19           2.      Pursuant to USC § 1331, this Court has original jurisdiction under the Civil
20    Rights Act 42 § 1983, the American with Disabilities Act (ADA) claim and related
21    common law claims pursuant to 28 USC §§ 1331, 1343.
22           3.      Venue is proper in this Court because the Defendants reside in, and all
23   incidents, events, and occurrences giving rise to this action occurred in the County of
24   San Bernardino, California.
25          4.       PLAINTIFF filed a timely claim under Government Code Section 911.2 et
26   al. and brings pendant actions under state law.

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 1
                                     PARTIES AND JURISDICTION
 2
             5.     The PLAINTIFF, DOMINIC ARCHIBALD, is the next of kin and the
 3
     successor-in-interest to Nathanael Pickett, deceased. She is the biological mother of the
 4
     decedent. She brings this action on behalf of herself, and heirs, next of kin or other
 5
     persons entitled to seek relief as a result of the unlawful and wrongful death of
 6
     Nathanael Pickett. This action is filed pursuant to CCP 337.60, 377.30, et al and a
 7
     declaration is filed under CCP 377.32 with the death certificate of Nathanael Pickett II.
 8
             6.     The County of San Bernardino is a governmental entity, existing by virtue
 9
     of the laws and Constitution of the State of California.
10
             7.     The Defendant, Kyle Woods, is and/or was at all times pertinent hereto, a
11
     sworn law enforcement officer. Specifically, said defendant was acting under color of
12
     law in the course and scope of his duties as a Sheriff’s Deputy and member of the San
13
     Bernardino County Sheriff’s Department.
14
             8.     The Defendant, William “Bill” Kelsey (“Doe 1”) is and/or was at all times
15
     acting under color of law in the scope and course of his duties as a volunteer Citizen on
16
     Patrol with the San Bernardino County Sheriff’s Department.
17
             9.     Defendant DOES 2-10 are supervisory employees, and/or managerial,
18
     supervisorial, and policymaking employees who were acting under color of law within
19
     the course and scope of their duties as deputies of the San Bernardino County Sheriff’s
20
     Department. They were acting with the complete authority and ratification of their
21
     principal, Defendant COUNTY.
22
             10.    The true names and capacities of DOES 2-10 are unknown to PLAINTIFF,
23
     who otherwise sues these Defendants by such fictitious names. PLAINTIFF will seek
24
     leave to amend this complaint to show the true names and capacities of these
25
     Defendants when they have been ascertained. Each of the fictitiously named
26
     Defendants is responsible in some manner for the conduct or liabilities alleged herein.
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 1
            11.      This is an action for damages and such other and further relief as may be
 2
     consistent with law pursuant to 42 USC §1983, to redress violations of the decedent’s
 3
     rights protected by the United States Constitution, by persons acting under color of
 4
     state law.
 5
            12.     This is also a survivor’s action and one for wrongful death brought
 6
     pursuant to the Constitution, statutes and/or common law of the State of California.
 7
            13.     All events transactions or occurrences took place in the City of Barstow,
 8
     California, unless specifically alleged otherwise.
 9
            14.     This action is otherwise properly before this Honorable Court.
10

11
                                                      FACTS
12
            15.     On or about November 19, 2015, PLAINTIFF’s decedent, Nathanael
13
     Pickett, returned to his place of temporary residence at the El Rancho Motel following a
14
     short walk through Barstow. Pickett suffered from a mental illness.
15
            16.     Without probable cause or reasonable suspicion to believe Pickett had
16
     violated the law, or any other legitimate law enforcement purpose, Defendant Woods
17
     approached Pickett, demanding that he stop and answer questions. While talking to
18
     Pickett, Woods was later joined by Mr. Kelsey, who on information and belief,
19
     PLAINTIFF believes is a volunteer Citizen on Patrol for the San Bernardino County
20
     Sheriff’s Department who was accompanying Woods as he patrolled the City of
21
     Barstow.
22
            17.     After talking to Woods for a short time, Pickett resumed walking towards
23
     his room at the motel, whereupon Woods followed Pickett, again demanding that he
24
     stop and answer additional questions. Pickett again stopped and an additional discussion
25
     ensued. Woods ignored another motel resident who advised him that Pickett suffered a
26


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 1
     mental illness, that he (the resident) looked out for Pickett and that he could help Pickett
 2
     understand the deputy if he (Pickett) was having trouble doing so.
 3
            18.     After talking to Pickett for a few additional minutes, Woods approached
 4
     Pickett, touching him in some manner, prompting Pickett to run away from Woods.
 5
            19.     While running away from Woods, Pickett fell face down to the ground,
 6
     rolled to a sitting position over and began scooting backwards, away from Woods.
 7
            20.     Thereafter, though Pickett posed no threat of harm to Woods, Kelsey, or
 8
     any other person, and in the absence of any legal justification for doing so, Woods then
 9
     unlawfully, improperly and maliciously shot Pickett.
10
            21.     Woods then reholstered his gun, and though Pickett was seriously
11
     wounded, Woods and Kelsey then viciously and maliciously begun to beat Pickett,
12
     punching and kicking him about the head.
13
            22.     Woods and Kelsey failed to promptly or immediately provide Pickett with
14
     necessary medical attention.
15
            23.     DEPUTY WOODS and KELSEY were integral participants in the
16
     wrongful detention and arrest of Pickett and excessive force against Pickett, or failed to
17
     intervene to prevent these violations.
18
            24.     Pickett died shortly thereafter of the gunshot wounds inflicted by Woods.
19

20
                                       FIRST CLAIM FOR RELIEF
21
          FOURTH AMENDMENT-UNREASONABLE SEARCH AND SEIZURE-
22
                                        DETENTION AND ARREST
23
                                                (42 U.S.C. § 1983)
24
                        (AGAINST DEFENDANTS WOODS AND KELSEY)
25
             25.    PLAINTIFF repeats and re-alleges each and every allegation in paragraphs
26
     1 through 24 of this Complaint with the same force and effect as if fully set forth herein.
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 1
             26.    The Fourth Amendment of the United States Constitution guarantees all
 2
     persons the right to be free from unreasonable detention in violation of their right to
 3
     privacy. 42 U.S.C. § 1983 provides a private right of action for conduct which violates
 4
     this right.
 5
            27.     DEPUTY WOODS and KELSEY acted under color of law.
 6
             28.    On November 19, 2015 WOODS and KELSEY made contact with
 7
     DECEDENT, PICKETT, who suffered from mental illness and was not committing any
 8
     crime. Defendant Deputy Woods had no objectively reasonable or specifically
 9
     articulable factual basis to suspect that DECEDENT was involved in the commission of
10
     any crime. Nor did the Defendant Woods have any confirmation that DECEDENT had
11
     committed any crime, nor posed a threat to any deputy, and did not see DECEDENT in
12
     possession of any illegal objects, contraband or weapons.
13
            29.     DEPUTY WOODS and KELSEY had no reasonable suspicion to detain
14
     DECEDENT and no probable cause to arrest DECEDENT. The scope and manner of
15
     DEPUTY WOODS’ and KELSEY’s detention of DECEDENT was unreasonable.
16
             30. The conduct of DEPUTY WOODS AND KELSEY violated DECEDENT’s
17
     right to be free from unreasonable search and seizure, which is guaranteed to him by the
18
     Fourth Amendment to the United States Constitution and applied to state actors by the
19
     Fourteenth Amendment.
20
            31.     DEPUTY WOODS and KELSEY are liable to PLAINTIFF, for the
21
     DECEDENT’s injuries and death, either because they were integral participants in the
22
     wrongful detention and arrest, or because they failed to intervene to prevent these
23
     violations.
24
            32.     The conduct of DEPUTY WOODS and KELSEY was willful, wanton,
25
     malicious, and done with an evil motive and intent and a reckless disregard for the
26
     rights and safety of DECEDENT and therefore warrants the imposition of exemplary
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 1
     and punitive damages as to ALL DEFENDANT DEPUTIES..
 2
             33.    As a direct result of the unreasonable detention of DECEDENT,
 3
     PLAINTIFF has suffered the loss of love, care, comfort, society, companionship,
 4
     assistance, protection, affection, moral support, and support of DECEDENT.
 5
             34.    As a direct result of the unreasonable detention of DECEDENT, he
 6
     experienced severe pain and suffering and the loss of life for which he, by PLAINTIFF,
 7
     is entitled to recover damages. PLAINTIFF brings this claim both individually and as a
 8
     successor-in-interest to Decedent. PLAINTIFF seeks survival damages, including for
 9
     the nature and extent of Decedent’s injuries, pre-death pain and suffering, emotional
10
     distress, and loss of life and enjoyment of life, as well as wrongful death damages under
11
     this claim. PLAINTIFF also seeks attorney’s fees.
12

13
                                         SECOND CLAIM FOR RELIEF
14
                               FOURTH AMENDMENT-EXCESSIVE FORCE
15
                                                    (42 U.S.C. § 1983)
16
                            (AGAINST DEFENDANTS WOODS AND KELSEY)
17
             35.     PLAINTIFF repeats and re-alleges each and every allegation in paragraphs
18
     1 through 34 of this Complaint with the same force and effect as if fully set forth herein.
19
             36.     The unjustified detention of DECEDENT by DEPUTY WOODS and
20
     KELSEY, and subsequent unjustified use of excessive force deprived DECEDENT of
21
     his right to be secure in his person against unreasonable searches and seizures as
22
     guaranteed to him under the Fourth Amendment to the United States Constitution and
23
     applied to state actors by the Fourteenth Amendment.
24
             37.     DEPUTY WOODS and KELSEY acted under color of law.
25
             38.     DEPUTY WOODS used excessive force against DECEDENT including
26
     but not limited to beating, punching, kicking, and shooting DECEDENT.
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 1
             39.    KELSEY used excessive force against DECEDENT including but not
 2
     limited to beating, punching, and kicking DECEDENT.
 3
             40.    As a result of the conduct of DEPUTY WOODS and KELSEY, they are
 4
     liable to PLAINTIFF for the DECEDENT’s injuries and death, either because they
 5
     were integral participants in the excessive force or because they failed to intervene to
 6
     prevent these violations.
 7
            41.     The conduct of DEPUTY WOODS and KELSEY was willful, wanton,
 8
     malicious, and done with an evil motive and intent and a reckless disregard for the
 9
     rights and safety of DECEDENT and therefore warrants the imposition of exemplary
10
     and punitive damages as to WOODS and KELSEY. Decedent died a slow, painful
11
     death, struggling to breathe.
12
            42.     Accordingly, DEFENDANTS DEPUTY WOODS and KELSEY are each
13
     liable to PLAINTIFF for compensatory and punitive damages under 42 U.S.C. § 1983.
14
     PLAINTIFF brings this claim both individually and as a successor-in-interest to
15
     Decedent. PLAINTIFF seeks survival damages, including for the nature and extent of
16
     Decedent’s injuries, pre-death pain and suffering, emotional distress, and loss of life
17
     and enjoyment of life, as well as wrongful death damages under this claim.
18
     PLAINTIFF also seeks attorney’s fees.
19

20
                                       THIRD CLAIM FOR RELIEF
21
         MUNICIPAL LIABILITY - UNCONSITUTIONAL CUSTOM OR POLICY
22
                                                (42 U.S.C. § 1983)
23
        (AGAINST DEFENDANTS SAN BERNARDINO COUNTYAND DOES 2-10)
24
            43.     PLAINTIFF hereby repeats, re-states, incorporates, each and every
25
     allegation in paragraphs 1 through 42 of this Complaint with the same force and effect
26
     as if fully set forth herein.
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 1
               44.     On and for some time prior to November 19, 2015 (and continuing to the
 2
     present date) Defendants COUNTY, SAN BERNARDINO SHERIFF’S
 3
     DEPARTMENT and DOE SUPERVISORS 2-10, deprived PLAINTIFF of the rights
 4
     and liberties secured to her by the Fourth and Fourteenth Amendments to the United
 5
     States Constitution, in that said defendants and their supervising, and managerial
 6
     employees, agents, and representatives, acting with gross negligence and with reckless
 7
     and deliberate indifference to the rights and liberties of the public in general, of
 8
     PLAINTIFF, and of persons in her class, situation and comparable position in
 9
     particular, knowingly maintained, enforced and applied an official policy recognized by
10
     COUNTY and SAN BERNARDINO SHERIFF’s DEPARTMENT.
11
         45.         DEPUTY WOODS and KELSEY acted under color of law.
12
         46.     DEPUTY WOODS and KELSEY acted pursuant to an expressly adopted
13
     official policy or a longstanding practice or custom of the Defendant COUNTY.
14
        47.      On information and belief, DEPUTY WOODS and KELSEY were not
15
     disciplined, reprimanded, retrained, suspended, or otherwise penalized in connection
16
     with DECEDENT’s death.
17
        48.      Defendants COUNTY, WOODS and KELSEY together with other COUNTY
18
     policymakers and supervisors maintained, inter alia, the following unconstitutional
19
     customs, practices, and policies:
20
                 a. Using excessive force, including excessive deadly force;
21
                 b. Providing inadequate training regarding the use of deadly force;
22
                 c. Employing and retaining as Deputies and other personnel, including ALL
23
     DEPUTIES and DEPUTY WOODS, who Defendants SAN BERNARDINO
24
     SHERIFF’S DEPARTMENT DOE SUPERVISORS 2-10, at all times material herein,
25
     knew or reasonably should have known had dangerous propensities for abusing their
26
     authority and for mistreating citizens by failing to follow written San Bernardino
                                                           9                    Case No. 5:16-cv-01128-AB-SPx
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 1
     Sheriff’s Department policies and for using excessive force;
 2
                d. Inadequately supervising, training, controlling, assigning and disciplining
 3
     SAN BERNARDINO SHERIFF’S DEPARTMENT deputies and other San Bernardino
 4
     Sheriff’s Department personnel, including ALL DEPUTIES including DEPUTY
 5
     WOODS, who Defendants SAN BERNARDINO COUNTY SHERIFF’S
 6
     DEPARTMENT and DOE SUPERVISORS 2-10 each knew, or in the exercise of
 7
     reasonable care, should have known had the aforementioned propensities and character
 8
     traits.
 9
                e. Maintaining grossly inadequate procedures for reporting, supervising,
10
     investigating, reviewing, disciplining and controlling the intentional misconduct by
11
     ALL DEPUTIES including DEPUTY WOODS, who are SAN BERNARDINO
12
     COUNTY SHERIFF’S DEPARTMENT deputies.
13
                f. Failing to adequately discipline COUNTY Deputies, including WOODS
14
     for the above-referenced categories of misconduct, including “slaps on the wrist,”
15
     discipline that is so slight as to be out of proportion to the magnitude of the
16
     misconduct, and other inadequate discipline that is tantamount to encouraging
17
     misconduct;
18
                g. Announcing that unjustified shootings are “within policy,” including
19
     shootings that were later determined in court to be unconstitutional;
20
                h. Refusing to discipline, terminate, or retrain the deputies involved, even
21
     where shootings were determined in court to be unconstitutional;
22
                i. Encouraging, accommodating, or facilitating a “blue code of silence,”
23
     “blue shield,” “blue wall,” “blue curtain,” “blue veil,” or simple “code of silence,”
24
     pursuant to which deputies do not report other deputies’ errors, misconduct or crimes.
25
     Pursuant to this code of silence, if questioned about an incident of misconduct
26
     involving another deputy, while following the code, the deputy being questioned will
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 1
     claim ignorance of the other deputies’ wrongdoing;
 2
                j. Maintaining a policy of inaction and an attitude of indifference towards
 3
     soaring numbers of police shootings, including by failing to discipline, retrain,
 4
     investigate, terminate, and recommend deputies for criminal prosecution who
 5
     participate in shootings of unarmed people.
 6
                k. Having and maintaining an unconstitutional custom and practice of using
 7
     excessive force and covering up police misconduct. These customs and practices by
 8
     COUNTY and DOE SUPERVISORS 2-10 were condoned by said defendants in
 9
     deliberate indifference to the safety and rights of its civilians, including PLAINTIFF,
10
     and DECEDENT.
11
             49.     By reason of the aforementioned policies and practices of Defendants
12
     COUNTY and DOE SUPERVISORS 2-10, PLAINTIFF experienced severe pain and
13
     suffering and the loss of her son, for which she is entitled to recover damages. The
14
     aforementioned acts and omissions also caused DECEDENT’s pain and suffering, loss
15
     of enjoyment of life, and death.
16
             50.     Defendants COUNTY, and DOE SUPERVISORS 2-10 together with
17
     various other officials, whether named or unnamed, had either actual or constructive
18
     knowledge of the different policies, practices, and customs alleged in the paragraphs
19
     above. Despite having knowledge as stated above, these defendants condoned,
20
     tolerated and through actions and inactions ratified such policies. Said defendants also
21
     acted with deliberate indifference to both the foreseeable effects and consequences of
22
     these policies and to the constitutional rights of PLAINTIFF, and other individuals
23
     similarly situated.
24
             51.    By perpetuating, sanctioning, tolerating, and ratifying the outrageous
25
     conduct and other wrongful acts, Defendants COUNTY, and DOE SUPERVISORS 2-
26
     10, acted with an international, reckless, callous disregard for the well-being of
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 1
     DECEDENT and his constitutional as well as human rights. Defendants COUNTY,
 2
     DOE SUPERVISORS 2-10, and each of their actions were willful, wanton, oppressive
 3
     malicious, fraudulent, and extremely offensive and unconscionable to any person of
 4
     normal sensibilities.
 5
             52.    Furthermore, the policies, practices, and customs implemented, maintained
 6
     and still tolerated by Defendants COUNTY, and DOE SUPERVISORS 2-10, were
 7
     affirmatively linked to, and were a significantly influential force behind, the
 8
     PLAINTIFF’s injuries.
 9
             53.    PLAINTIFF has also been deprived of the life-long love, companionship,
10
      comfort, support, society, care and sustenance of Decedent, and will continue to be so
11
      deprived for the remainder of her natural life.
12
             54.    PLAINTIFF brings this claim both individually and as a successor-in-
13
     interest to Decedent. PLAINTIFF seeks survival damages, including for the nature and
14
     extent of Decedent’s injuries, pre-death pain and suffering, emotional distress, and loss
15
     of life and enjoyment of life, as well as wrongful death damages under this claim.
16
     PLAINTIFF also seeks attorney’s fees.
17

18
                                     FOURTH CLAIM FOR RELIEF
19
                             MUNICIPAL LIABILITY – RATIFICATION
20
                                                (42 U.S.C. § 1983)
21
       (AGAINST DEFENDANTS SAN BERNARDINO COUNTY AND DOES 2-10)
22
             55.     PLAINTIFF repeats and re-alleges each and every allegation in paragraphs
23
     1 through 54 of this Complaint with the same force and effect as if fully set forth herein.
24
             56.     Defendants WOODS and KELSEY acted under color of law.
25
             57.     The acts of Defendants WOODS and KELSEY deprived DECEDENT and
26
     PLAINTIFF of their particular rights under the United States Constitution.
                                                           12                   Case No. 5:16-cv-01128-AB-SPx
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 1
             58.    Upon information and belief, the final policymaker, acting under color of
 2
     law, has a history of ratifying unreasonable uses of force, including deadly force.
 3
            59.     Upon information and belief, a final policymaker, acting under color of
 4
     law, who had final policymaking authority concerning the acts of Defendants WOODS
 5
     and KELSEY ratified the individual defendants’ acts and the bases for them. Upon
 6
     information and belief, the final policymaker knew of and specifically approved of the
 7
     individual defendants’ acts.
 8
            60.     Upon information and belief, a final policymaker has determined (or will
 9
     determine) that the acts of Defendants WOODS and KELSEY were “within policy.”
10
            61.     By reason of the aforementioned acts and omissions, PLAINTIFF has been
11
     deprived of the life-long love, companionship, comfort, support, society, care and
12
     sustenance of Decedent, and will continue to be so deprived for the remainder of her
13
     natural life. The aforementioned acts and omissions also caused DECEDENT’s pain
14
     and suffering, loss of enjoyment of life, and death.
15
            62.     Accordingly, Defendants COUNTY and DOES 2-10 each are liable to
16
     PLAINTIFF for compensatory damages under 42 U.S.C. § 1983.
17
             63.    PLAINTIFF brings this claim both individually and as a successor-in-
18
     interest to Decedent. PLAINTIFF seeks survival damages, including for the nature and
19
     extent of Decedent’s injuries, pre-death pain and suffering, emotional distress, and loss
20
     of life and enjoyment of life, as well as wrongful death damages under this claim.
21
     PLAINTIFF also seeks attorney’s fees.
22
     //
23
     //
24
     //
25
     //
26
     //
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 1
                                       FIFTH CLAIM FOR RELIEF
 2
                          MUNICIPAL LIABILITY – FAILURE TO TRAIN
 3
                                                (42 U.S.C. § 1983)
 4
        (AGAINST DEFENDANTS SAN BERNARDINO COUNTYAND DOES 2-10)
 5
             64.    PLAINTIFF repeats and re-alleges each and every allegation in paragraphs
 6
     1 through 63 of this Complaint with the same force and effect as if fully set forth herein.
 7
            65.     Defendant WOODS and KELSEY acted under color of law;
 8
            66.     The acts of Defendants WOODS and KELSEY deprived DECEDENT and
 9
     PLAINTIFF of their particular rights under the United States Constitution.
10
             67.     On information and belief, COUNTY failed to properly and adequately
11
     train WOODS and KELSEY, including but not limited to, with regard to the use of
12
     physical force, less than lethal force, and lethal force; and with regard to the treatment
13
     of persons who are suspected of having some type of mental illness.
14
            68.     The training policies of Defendant COUNTY were not adequate to train its
15
     officers to handle the usual and recurring situations with which they must deal,
16
     including the use of less than lethal and lethal force, and the treatment of persons who
17
     are suspected of having some type of mental illness.
18
            69.     Defendant COUNTY was deliberately indifferent to the obvious
19
     consequences of its failure to train its officers adequately.
20
            70.     The failure of Defendant COUNTY to provide adequate training caused
21
     the deprivation of PLAINTIFFs’ rights by Defendants WOODS and KELSEY; that is,
22
     Defendants’ failure to train is so closely related to the deprivation of PLAINTIFFs’
23
     rights as to be the moving force that caused the ultimate injury.
24
            71.     By reason of the aforementioned acts and omissions, PLAINTIFF has been
25
     deprived of the life-long love, companionship, comfort, support, society, care and
26
     sustenance of DECEDENT, and will continue to be so deprived for the remainder of her
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 1
     natural life. The aforementioned acts and omissions also caused DECEDENT’s pain
 2
     and suffering, loss of enjoyment of life, and death.
 3
            72.     Accordingly, Defendants COUNTY and DOES 2-10 each are liable to
 4
     PLAINTIFF for compensatory damages under 42 U.S.C. § 1983.
 5
             73.    PLAINTIFF brings this claim both individually and as a successor-in-
 6
     interest to DECEDENT. PLAINTIFF seeks survival damages, including for the nature
 7
     and extent of DECEDENT’s injuries, pre-death pain and suffering, emotional distress,
 8
     and loss of life and enjoyment of life, as well as wrongful death damages under this
 9
     claim. PLAINTIFF also seeks attorney’s fees.
10

11
                                    SIXTH CLAIM FOR RELIEF
12
                FOURTH AMENDMENT – DENIAL OF MEDICAL CARE
13
                                             (42 U.S.C. §1983)
14
                        (AGAINST DEFENDANTS WOODS AND KELSEY)
15
             74.     PLAINTIFF hereby re-alleges and incorporates by reference paragraphs 1
16
      through 73 of this Complaint.
17
            75.     DEPUTY WOODS and KELSEY acted under color of law.
18
             76.    The denial of medical care by DEPUTY WOODS and KELSEY deprived
19
      DECEDENT of his right to be secure in his person against unreasonable searches and
20
      seizures as guaranteed to DECEDENT under the Fourth Amendment to the United
21
      States Constitution and applied to state actors by the Fourteenth Amendment.
22
      DEPUTY WOODS and KELSEY did nothing to assist or attempt to save Pickett’s life
23
      and one half hour passed before help arrived.
24
             77.    As a proximate result of Defendants' conduct, PLAINTIFF suffered
25
      injuries and damages as set forth herein, including great physical pain and emotional
26
      distress up to the time of his death, loss of enjoyment of life, loss of life, and loss of
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 1
      earning capacity.
 2
             78.    The conduct of DEPUTY WOODS and KELSEY was willful, wanton,
 3
      malicious, and done with reckless disregard for the rights and safety of DECEDENT
 4
      and therefore warrants the imposition of exemplary and punitive damages as to
 5
      Defendants.
 6
             79.    As a result of their misconduct, Defendants DEPUTY WOODS and
 7
      KELSEY are liable for DECEDENT’s injuries, either because they were integral
 8
      participants in the wrongful detention and arrest, or because they failed to intervene to
 9
      prevent these violations.
10
             80.    PLAINTIFF brings this claim both individually and as a successor-in-
11
      interest to Decedent. PLAINTIFF seeks survival damages, including for the nature and
12
      extent of Decedent’s injuries, pre-death pain and suffering, emotional distress, and loss
13
      of life and enjoyment of life, as well as wrongful death damages under this claim.
14
      PLAINTIFF also seeks attorney’s fees.
15

16
                                     SEVENTH CLAIM FOR RELIEF
17
               FOURTEENTH AMENDMENT-SUBSTANTIVE DUE PROCESS
18
                                                (42 U.S.C. § 1983)
19
                        (AGAINST DEFENDANTS WOODS AND KELSEY)
20
             81.    PLAINTIFF hereby re-alleges and incorporates by reference herein
21
     paragraphs 1 through 80 of this Complaint as though fully set forth;
22
             82.    DEPUTY WOODS and KELSEY acted under color of law.
23
             83.    Defendants, acting under color of state law, and without due process of
24
     law, deprived PLAINTIFF of her right to a familial relationship in such a manner as to
25
     shock the conscience by seizing decedent by use of unreasonable, unjustified and
26
     deadly force and violence, causing injuries which resulted in DECEDENT's death, all
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 1
     without provocation and attempted to conceal their excessive use of force and hide the
 2
     true cause of decedent's demise to deprive PLAINTIFF of her right to seek redress, all
 3
     in violation of rights, privileges, and immunities secured by the First, Fourth, and
 4
     Fourteenth Amendments to the United States Constitution.
 5
             84.     The aforementioned actions of WOODS and KELSEY along with other
 6
     undiscovered conduct, shock the conscience, in that they acted with deliberate
 7
     indifference to the constitutional rights of DECEDENT and PLAINTIFF, and with
 8
     purpose to harm unrelated to any legitimate law enforcement objective.
 9
             85.     DEPUTY WOODS and KELSEY are liable to PLAINTIFF, for the
10
     DECEDENT’s injuries and death, either because they were integral participants in the
11
     wrongful detention and arrest, or because they failed to intervene to prevent these
12
     violations.
13
             86.     PLAINTIFF brings this claim individually and seeks wrongful death
14
     damages under this claim. PLAINTIFF also seeks attorney’s fees.
15

16
                                          EIGHTH CLAIM FOR RELIEF
17
                       VIOLATION OF AMERICANS WITH DISABILITIES ACT
18
                                          (AGAINST ALL DEFENDANTS)
19
             87.     PLAINTIFF re-alleges and incorporates by reference herein paragraphs 1
20
     through 86 of this Complaint, except for any and all allegations of intentional,
21
     malicious, extreme, outrageous, wanton, and oppressive conduct by defendants, and any
22
     and all allegations requesting punitive damages.
23
             88.     PLAINTIFF alleges as a claim for relief that the Defendants, in violation
24
     of the ADA, failed to provide PICKETT with any reasonable accommodation to his
25
     known qualifying disability in their interactions with PLAINTIFF PICKETT on the day
26
     of his death.
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 1
             89.    As providers of governmental services, the County of San Bernardino had
 2
     a duty to comply with the Title II of the ADA prohibiting discrimination against
 3
     persons with disabilities, a history of having disabilities or who are perceived to have a
 4
     disability. As of the date of his death, PICKETT met all three prongs of eligibility for
 5
     application of the ADA.
 6
              90. As a direct and proximate result of the Defendants’ violation of the
 7
     ADA as set forth above, PICKETT incurred substantial emotional and physical
 8
     harm.
 9
              91. DECEDENT PICKETT lost his life after incurring substantial pain
10
     and injury as a direct and proximate result of the Defendants’ acts in violation of
11
     the ADA as set forth above.
12

13
                                        NINTH CLAIM FOR RELIEF
14
                     NEGLIGENCE – WRONGFUL DEATH AND SURVIVAL
15
                                          (C.C.P. §377.60 and §377.61)
16
                                      (AGAINST ALL DEFENDANTS)
17
             92.    PLAINTIFF re-alleges and incorporates by reference herein paragraphs 1
18
     through 91 of this Complaint.
19
             93.    Defendants and DOES 2-10 inclusive, by and through their respective
20
     agents and employees, proximately caused the death of DECEDENT NATHANAEL
21
     PICKETT II, on November 19, 2015 as a result of their negligent conduct and/or
22
     negligent failure to act as set-forth herein.
23
             94.    Sheriff’s Deputies and volunteers, including Defendants, have a duty to
24
     use reasonable care to prevent harm or injury to others. This duty includes, but is not
25
     limited to, using appropriate tactics, giving appropriate commands, giving warnings,
26


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 1
     and not using any force unless necessary, using less than lethal options, and only using
 2
     deadly force as a last resort.
 3
            95.      Defendants breached this duty of care. Upon information and belief, the
 4
     actions and inactions of Defendants were negligent and reckless, including but not
 5
     limited to:
 6
                    (a)      the failure to properly and adequately assess the need to detain,
 7
                            arrest, and use force or deadly force against DECEDENT;
 8
                     (b)     the negligent tactics and handling of the situation with DECEDENT,
 9
                            including pre-shooting negligence;
10
                     (c)    the negligent detention, arrest, and use of force, including deadly
11
                             force, against DECEDENT;
12
                     (d)     the negligent communication of information during the incident;
13
                     (e)     the negligent post-shooting conduct, including the failure to provide
14
                             prompt medical care to DECEDENT; and
15
                     (f)     the failure to properly train and supervise employees and volunteers,
16
                             including WOODS and KELSEY.
17
             96.     COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful
18
     acts of DEPUTY WOODS pursuant to section 815.2(a) of the California Government
19
     Code, which provides that a public entity is liable for the injuries caused by its
20
     employees within the scope of employment if the employee’s act would subject him or
21
     her to liability.
22
              97. As an actual and proximate result of said defendants' negligence, and the
23
     resulting death of DECEDENT, PLAINTIFF has sustained pecuniary loss resulting
24
     from the loss of companionship, comfort, support, society, care, sustenance and
25
     services of her son, decedent, and will continue to be so deprived for the remainder of
26
     her natural life, in an amount according to proof at trial.
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 1
               98. As a further actual and proximate result of said defendants' negligence,
 2
     PLAINTIFF incurred funeral and burial expenses, in an amount according to proof at
 3
     trial.
 4
               99. Pursuant to California C.C.P. Sections 377.30, 377.60 and 377.61,
 5
     PLAINTIFF has brought this action, and claims both survival damages, namely any
 6
     economic losses of Decedent, and wrongful death damages from said defendants for
 7
     the wrongful death of decedent, and the resulting injuries.
 8

 9
                                      TENTH CLAIM FOR RELIEF
10
              ASSAULT AND BATTERY – SURVIVAL AND WRONGFUL DEATH
11
                                     (AGAINST ALL DEFENDANTS)
12
              100. PLAINTIFF re-alleges and incorporates by reference herein paragraphs 1
13
     through 99 of this Complaint.
14
              101. At or about the dates and places alleged herein, DEFENDANT DEPUTY
15
     WOODS, while acting within the course and scope of his duties as a Sheriff’s Deputy
16
     for the San Bernardino County Sheriff’s Department, without provocation, warrant,
17
     necessity or legal justification, assaulted and battered DECEDENT PICKETT by
18
     shooting him two times and attacking Pickett with unreasonable and excessive force
19
     and violence, thereby causing PICKETT’s injuries and death as herein described.
20
              102. WOODS used unreasonable force against DECEDENT, including but not
21
     limited to, beating, punching, kicking, and shooting DECEDENT.
22
              103. At or about the dates and places alleged herein, DEFENDANT KELSEY,
23
     while acting within the course and scope of his duties as a volunteer Citizen on Patrol
24
     for the San Bernardino County Sheriff’s Department, without provocation, warrant,
25
     necessity or legal justification, assaulted and battered DECEDENT PICKETT by
26
     attacking Pickett with unreasonable and excessive force and violence, thereby causing
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 1
     PICKETT’s injuries as herein described.
 2
             104. KELSEY used unreasonable force against DECEDENT including but not
 3
     limited to beating, punching, and kicking DECEDENT.
 4
             105. PLAINTIFF is informed and believes, and upon such information and
 5
     belief alleges, DEFENDANT DEPUTY WOODS, KELSEY, COUNTY OF SAN
 6
     BERNARDINO, and DOES 2-10, inclusive, and each of them, are responsible for
 7
     implementing, maintaining, sanctioning, ratifying, and/or condoning a policy, custom,
 8
     or practice under with the individual DEFENDANTS committed the aforementioned
 9
     illegal and wrongful acts.
10
             106. PLAINTIFF is informed and believes, and upon such information and
11
     belief alleges, DEFENDANT DEPUTY WOODS, KELSEY, and DOES 2-10,
12
     inclusive, and each of them are liable for the injuries, damages, and death of PICKETT
13
     as they knew, or should have known, the customs, practices, policies and acts of the
14
     individual Defendant Deputies WOODS and KELSEY who caused DECEDENT
15
     PICKETT’S death, by failing to provide him with safety and the medical attention he
16
     required when he commenced suffering from medical distress.
17
             107. As a legal result of all DOE DEFENDANTS and DEPUTY WOODS’ and
18
     KELSEY’s acts and omissions as described, PLAINTIFF’s decedent, PICKETT,
19
     suffered a traumatic and brutal assault by DEPUTY WOODS leading to death.
20
     PLAINTIFF DOMINIC ARCHIBALD has incurred funeral and services expenses in
21
     an amount according to proof.
22
             108. PLAINTIFF has also been deprived of the life-long love, companionship,
23
     comfort, support, society, care and sustenance of DECEDENT, and will continue to be
24
     so deprived for the remainder of her natural life.
25
             109. COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful
26
     acts of DEPUTY WOODS pursuant to section 815.2(a) of the California Government
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 1
     Code, which provides that a public entity is liable for the injuries caused by its
 2
     employees within the scope of employment if the employee’s act would subject him or
 3
     her to liability.
 4
              110. Defendants, and each of them, committed the aforementioned acts and
 5
     omissions knowingly, willfully, maliciously and with the expressed intent to harm
 6
     PICKETT and conscious or reckless disregard for the risk of death to PICKETT. By
 7
     reason thereof, PLAINTIFF seeks punitive and exemplary damages from
 8
     DEFENDANTS, in an amount according to proof at trial.
 9
              111. PLAINTIFF brings this claim both individually and as a successor-in-
10
     interest to Decedent, and seeks both survival damages, including any economic losses
11
     of Decedent, and wrongful death damages under this claim.
12

13
                                     ELEVENTH CLAIM FOR RELIEF
14
             VIOLATION OF DECEDENT'S RIGHT TO ENJOY CIVIL RIGHTS
15
                                               (Cal. Civ. Code §52.1)
16
                                       (AGAINST ALL DEFENDANTS)
17
             112. PLAINTIFF re-alleges and incorporates by reference paragraphs 1 through
18
     111 of this complaint.
19
             113. California Civil Code Section 52.1 (the Bane Act) prohibits any person
20
     from using violent acts or threatening to commit violent acts in retaliation against
21
     another person for exercising that person’s constitutional rights.
22
             114. Conduct that violates the Fourth Amendment violates the California Bane
23
     Act.1
24
             115. On information and belief, Defendants WOODS and KELSEY, while
25

26
     1
      See Chaudhry v. City of Los Angeles, 2014 WL 2030195, at *6 (9th Cir. May 19, 2014) (citing Cameron v. Craig, 713
     F.3d 1012, 1022 (9th Cir. 2013).
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 1
     representing the COUNTY and acting within the course and scope of their duties,
 2
     intentionally committed acts of violence against DECEDENT, including shooting and
 3
     beating him without justification or excuse, integrally participating and failing to
 4
     intervene in the above violence, and by denying him necessary medical care.
 5
     Defendants’ actions thus deprived DECEDENT of his right to be free from
 6
     unreasonable searches and seizures and excessive force under the Fourth Amendment.
 7
            116. On information and belief, Defendants also retaliated against DECEDENT
 8
     in response to his statement “I’m going to my room, I live here,” choosing not to further
 9
     engage with Deputy WOODS after DECEDENT repeatedly asked WOODS if he had
10
     done anything wrong, to which WOODS repeatedly answered “No.” Thus, Defendants
11
     also violated DECEDENT’s First Amendment right when they retaliated against
12
     DECEDENT using excessive and unreasonable force, killing him.
13
            117. On information and belief, Defendants intentionally and spitefully
14
     committed the above acts to discourage DECEDENT from exercising his civil rights, to
15
     retaliate against him for invoking such rights, or to prevent him from exercising such
16
     rights, which he was fully entitled to enjoy.
17
            118. On information and belief, DECEDENT reasonably believed and
18
     understood that the violent acts committed by Defendants WOODS and KELSEY were
19
     intended to discourage him from exercising his civil rights, to retaliate against him for
20
     invoking such rights, or to prevent him from exercising such rights.
21
             119. Defendants' above-described conduct, while acting within the course and
22
     scope of their duties for the COUNTY, constituted interference, and attempted
23
     interference, by threats, intimidation and coercion, with decedent's peaceable exercise
24
     and enjoyment of rights secured by the Constitution and laws of the United States and
25
     the State of California, in violation of California Civil Code §52.1.
26
             120. The conduct of Defendants was a substantial factor in causing
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 1
     PLAINTIFF’s harms, losses, injuries, and damages.
 2
             121. COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful
 3
     acts of DEPUTY WOODS pursuant to section 815.2(a) of the California Government
 4
     Code, which provides that a public entity is liable for the injuries caused by its
 5
     employees within the scope of employment if the employee’s act would subject him or
 6
     her to liability.
 7
             122. Defendants DOES 2-10 are vicariously liable under California law and the
 8
     doctrine of respondeat superior.
 9
             123. The conduct of Defendants was malicious, wanton, oppressive, and
10
     accomplished with a conscious disregard for Decedent’s and PLAINTIFF’s rights,
11
     justifying an award of exemplary and punitive damages as to Defendants DEPUTY
12
     WOODS and KELSEY.
13
             124. PLAINTIFF brings this claim both individually and as a successor-in-
14
     interest to Decedent, and seeks survival damages under this claim, as well as attorney’s
15
     fees.
16

17
                                     TWELFTH CLAIM FOR RELIEF
18
                 VIOLATION OF DECEDENT'S STATE STATUTORY RIGHTS
19
                                              (Cal. Civ. Code §51.7)
20
                                      (AGAINST ALL DEFENDANTS)
21
             125. PLAINTIFF re-alleges and incorporates by reference herein paragraphs 1
22
     through 124 of this complaint.
23
             126. PLAINTIFF is informed and believes and thereon alleges that the conduct
24
     of Defendants DEPUTY WOODS, KELSEY and DOES 2 through 10, inclusive, as
25
     described herein, was motivated by prejudice against NATHANAEL PICKETT.
26
     Decedent is and was readily recognizable as African-American. In engaging in such
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 1
     conduct, Defendants violated decedent's rights under California Civil Code §51.7 to be
 2
     free from violence, or intimidation by threat of violence committed against him
 3
     because of his race.
 4
             127. COUNTY OF SAN BERNARDINO is vicariously liable for the wrongful
 5
     acts of DEPUTY WOODS pursuant to section 815.2(a) of the California Government
 6
     Code, which provides that a public entity is liable for the injuries caused by its
 7
     employees within the scope of employment if the employee’s act would subject him or
 8
     her to liability.
 9
             128. Defendants DOES 2-10 are vicariously liable under California law and the
10
     doctrine of respondeat superior.
11
             129. Under the provisions of California Civil Code §52(b), Defendants are
12
     liable for punitive damages for each violation of Civil Code §51.7, reasonable
13
     attorney's fees and an additional $25,000.00.
14
             130. As a proximate result of Defendants' wrongful conduct, decedent suffered
15
     damages as hereinafter set forth. PLAINTIFF brings this claim as a successor-in-
16
     interest to Decedent, and seeks survival damages under this claim.
17

18
                                 THIRTEENTH CLAIM FOR RELIEF
19
                             FALSE ARREST/FALSE IMPRISONMENT
20
                         (AGAINST DEFENDANTS WOODS AND KELSEY)
21
             131. PLAINTIFF repeats and re-alleges each and every allegation in
22
     paragraphs 1 through 130 of this Complaint with the same force and effect as if fully set
23
     forth herein.
24
             132. Defendant DEPUTY WOODS and KELSEY, while acting within the
25
     course and scope of their duties for the County of San Bernardino Sheriff’s Department,
26
     intentionally deprived DECEDENT of his freedom of movement by use of force, threats
                                                           25                   Case No. 5:16-cv-01128-AB-SPx
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 1
     of force, menace, fraud, deceit, and unreasonable duress. WOODS and KELSEY
 2
     detained DECEDENT without reasonable suspicion and arrested him without probable
 3
     cause. The scope and manner of their detention of DECEDENT was also unreasonable.
 4
              133. DECEDENT did not knowingly or voluntarily consent.
 5
              134. Defendants WOODS and KELSEY detained DECEDENT for an
 6
     appreciable amount of time including by demanding he stop and answer questions,
 7
     shooting him, and beating him and making him otherwise feel that he was not free to
 8
     leave.
 9
              135. The conduct of WOODS and KELSEY was a substantial factor in causing
10
     the harm to DECEDENT.
11
              136. Defendant COUNTY is vicariously liable for the wrongful acts of
12
     Defendant DEPUTY WOODS pursuant to section 815.2(a) of the California
13
     Government Code, which provides that a public entity is liable for the injuries caused
14
     by its employees within the scope of their employment if the employee’s act would
15
     subject him or her to liability.
16
              137. Defendants DOES 2-10 are vicariously liable under California law and the
17
     doctrine of respondeat superior.
18
              138. The conduct of WOODS and KELSEY was malicious, wanton, oppressive,
19
     and accomplished with a conscious disregard for the rights of DECEDENT, entitling
20
     PLAINTIFF to an award of exemplary and punitive damages.
21
              139. As a result of their misconduct, Defendant WOODS and KELSEY are
22
     liable for DECEDENT’s injuries, either because they were integral participants in the
23
     wrongful detention and arrest, or because they failed to intervene to prevent these
24
     violations.
25
              140. PLAINTIFF brings this claim individually and as a successor-in-interest to
26
     DECEDENT, and seeks survival damages including for the nature and extent of
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 1
     Decedent’s injuries and loss of life and enjoyment of life, and wrongful death damages
 2
     under this claim.
 3

 4
                                                        DAMAGES
 5
             141. As a direct and proximate result of the defendants acts and/or omissions
 6
     alleged herein, PLAINTIFF’s decedent Nathanael Pickett suffered:
 7
                    a) Shock, fright, anxiety and mental distress
 8
                    b) Conscious pain and suffering
 9
                    c) Death
10
                    d) Loss of life and loss of enjoyment of life
11
             142. As a direct and proximate result of the defendants’ acts or omissions,
12
     PLAINTIFF has suffered and continues to suffer:
13
                    a) Grief, shock, sorrow and emotional distress.
14
                    b) Loss of love, companionship, and society.
15
                    c) Pecuniary injuries.
16
                     d)Funeral costs.
17

18
                                                         PRAYER
19
             WHEREFORE, PLAINTIFF prays judgment against Defendants and each of
20
     them as follows:
21
             AS TO EACH CLAIM FOR RELIEF AS APPLICABLE.
22
             1. For General and Special Damages, including both survival and wrongful death
23
                 damages, according to proof;
24
             2. For Exemplary Damages as provided by law; in an amount to be proved
25
                 against each individual Defendant;
26
             3. For Civil Penalties pursuant to Civil Code § 52;
                                                           27                   Case No. 5:16-cv-01128-AB-SPx
     ____________________________________________________________________________________________________________
                                      First Amended Complaint for Damages
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 1
             4. For Attorney’s Fees pursuant to Civil Code §§52 and 52.1 and under U.S.C.
 2
                 1985 and 1988;
 3
             5. For Costs of Suit;
 4
             6. For such other and further relief as the Court may deem proper
 5

 6

 7   Dated: March 3, 2017                           THE LAW OFFICE OF DALE K. GALIPO
 8                                                  THE LAW OFFICE OF SHARON J. BRUNNER
                                                    THE LAW OFFICES OF JAMES S. TERRELL
 9

10
                                                     By: _/s/ Dale K. Galipo_______
11
                                                         Dale K. Galipo
12

13
                                            JURY DEMAND
14
     Plaintiff hereby demands a trial by jury on all issues.
15

16
     Dated: March 3, 2017                           THE LAW OFFICE OF DALE K. GALIPO
17
                                                    THE LAW OFFICE OF SHARON J. BRUNNER
18                                                  THE LAW OFFICES OF JAMES S. TERRELL
19

20                                                  By: _/s/ Dale K. Galipo_________
                                                        Dale K. Galipo
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                                                           28                   Case No. 5:16-cv-01128-AB-SPx
     ____________________________________________________________________________________________________________
                                      First Amended Complaint for Damages
